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The JS 44 civil cover sheet and the information contained herein neither replace nor Supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the nited States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet, (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS DEFENDANTS
Carline Vilbon hh “Sp ewig | 1, Department of Children, Youth and Families, 2 The Lifespan
facilities, 3. The Rumford House group home

 

   

. County of Residence of First Listed Defendant
(EXCEPT IN U.S. PLAINTIFF CASES) (IN U.S. PLAINTIFF CASES ONLY)

NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED,

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

(c) Altorneys (Firm Name, Address, and Telephone Number) Attomeys (If Known)
Carline Vilbon, Pro-se Attorney Benjamin Copple for the Department of Children, Youth and
Families
Hf. BASIS OF JURISDICTION (Place an “X” in One Box Only) id. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X" in One Box for Plaintiff
(Far Diversity Cases Only) and One Box for Defendant)
O 1 U.S. Goverment 4 3 Federal Question PTF DEF PYF DEF
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of Business In This State
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TV. NATURE OF SUIT (etace an “X” in One Box Only) Click here for: Nature of Suit Code Descriptions.
| _ CONTRACT TORTS . FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES |
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J 130 Miller Act 7 345 Airplane Product Product Liability C1 690 Other 28 USC 157 3729(a))
1 140 Negotiable Instrument Liability 367 Health Care/ C1 400 State Reapportionment
{7 150 Recovery of Overpayment [0 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS | 410 Antitrust
& Enforcement of Judgment Slander Personal Injury O 820 Copyrights O 430 Banks and Banking
G 1S! Medicare Act © 330 Federal Employers’ Product Liability CF 830 Patent C1 450 Commerce
O 152 Recavery of Defaulted Liability 7 368 Asbestos Personal J 835 Patent - Abbreviated © 460 Deportation
Student Loans 0 340 Marine Injury Product New Drug Application {19 470 Racketeer Influenced and
(Excludes Veterans) © 345 Marine Product Liability (J 840 Trademark Conupt Organizations
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of Veteran’s Benefits (7 350 Motor Vehicle © 370 Other Fraud © 719 Fair Labor Standards 0 861 HIA (1395ff) © 485 Telephone Consumer
© 160 Stockholders’ Suits G 355 Motor Vehicle C1 371 Truth in Lending Act 862 Black Lung (923) Protection Act
0) 190 Other Contract Product Liability CY 380 Other Personal {1 720 Labor/Management G 863 DIAVC/DIWW (405(g)) [C1 490 Cable/Sat TV
195 Contract Product Liability |) 360 Other Personal Property Damage Relations 7 864 SSID Tide XVI CI 850 Securities‘Commodilies/
C7 196 Franchise Injury OF 385 Property Damage (1 740 Railway Labor Act 0 865 RSI (405(g)) Exchange
: 362 Personal injury - Product Liability O75) Family and Medical 0 890 Other Statutory Actions
Medical Malpractice Leave Act C1 891 Agricultural Acts
Le REAL PROPERTY - CIVUL RIGHTS _{ PRISONER PETITIONS | 790 Other Labor Litigation FEDERAL TAX SUITS (7 $93 Environmental Matters
G 210 Land Condemnation 0) 440 Other Civil Rights Habeas Corpus: O 791 Employce Retirement O 870 Taxes (U.S. Plaintife C1 895 Freedom of Information
©) 220 Foreclosure CF 44) Voting O 463 Alicn Detainee Inconie Security Act or Defendant) Act
G 230 Rent Lease & Ejectment . | O 442 Employment 0 310 Motions to Vacate 871 IRS—Third Party 07 896 Arbitration
G 240 Torts to Land 7 443 Housing/ Sentence 26 USC 7609 1 899 Administrative Procedure
€1 245 Tort Product Liability, . Accommodations 2 530 General Act/Review or Appeal of
1 290 All Other Real Property's ~ | 445 Amer. w/Disabilities -[ 535 Death Penalty IMMIGRATION Agency Decision
Employment Other: 1) 462 Naturalization Application : 0 950 Constitutionality of
G 446 Amer. w/Disubilities -| 540 Mandamus & Other [0 465 Other Immigration. Frog Stale Statutes
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Cite the U.S. Civil Statute under which you are filine (Do not cite jurisdictional statutes tanless diversity}:

28 U.S.C. 2241, 28 U.S.C, 2254, 25 C_F.R.11.404 i a

Brief description of cause: a: emacs ;
The Defendant and Respondents unlawfully detained my son A.V, through unjust procedures and falsified dacumen

_ VE. CAUSE OF ACTION

 

 

 

 

 

VO. REQUESTED IN (CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R-Cv.P. JURY DEMAND: OYes No
VI, RELATED CASE(S)
IF ANY (See instructions): Rhod
sJupGE Rhode Island Supreme Court | _DOCKETNUMBER
DATE SIGNATURE OF ATTORNEY OF RECORD
06/17/2021 / Carline Vilbon, Pro-se

 

FOR OFFICE USE ONLY

RECEIPT # AMOUNT APPLYING IFP

JUDGE MAG. JUDGE

CA21 267

 
